                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:12-00055
                                                    )       JUDGE CAMPBELL
TIMOTHY WAYNE HEDGE and                             )
JAMES BENJAMIN LEE                                  )

                                            ORDER

       The Court will hold a hearing at 8:00 a.m. on Tuesday, October 15, 2013, to discuss all

pending motions. All counsel and parties shall attend the hearing.

       It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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